      Case 1:15-cv-00085-RRE-ARS Document 27 Filed 08/26/15 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION


Abdul Aleem s/o MM Ibrahim, Jamilah Binte
Abdullah, Pok Siok Kee, Eng Ooi Hieng, Swee
Hang Danny Tan, Tong Lay Yeen Giovanna,             Case No. 1:15-cv-00085
Hooi Hian Lee, Jaryl Tan Hock Seng, Roger
Teo Kok Wei, Teo Khim Ho, Man Hong Lee,
Gatewoods Investment PTE. LTD.,
Panircelvan S/O Kaliannan, Thong Juay Koh,
Siew Geok Tong, Sze Seng Tan, Tan Chin
Hiang, Tan Sweet Keong, and Marcus Ian Tan
Guan Xing, individually and on behalf of
themselves and all others similarly situated,

                                  Plaintiffs,

       vs.

PEARCE & DURICK, and JONATHAN P.
SANSTEAD,

                               Defendants


DOMINIC WRIGHT, MARTIN LEESE,
ANDREW CHITTENDEN, WHITE ROSE                       Case No. 1:15-cv-00098
PROPERTIES, LLC, STEPHEN ROYALL,
STEPHEN ROYALL AND MARIA
THOMSON S.M.S.F., LLC, PETER
MCRAE, MCRAE FAMILY HOLDINGS,
INC., MARTIN ABSIL, MIN-WEI PETER
LIU,
ADRIEN VINCIGUERRA, GAEL
VINCIGUERRA, JAMES CAMPION,
PRABAHARAN SUBRAMANIAM,
ADRIAN SENG YEE PONG, TREVOR
LOWMAN and ANNABEL LOWMAN, on
behalf of themselves and all others similarly
situated,

                                 Plaintiffs,
       vs.

PEARCE & DURICK,

       Defendant.

                                                1
      Case 1:15-cv-00085-RRE-ARS Document 27 Filed 08/26/15 Page 2 of 3



               PLAINTIFFS’ UNOPPOSED MOTION FOR
               APPOINTMENT OF INTERIM LEAD COUNSEL

       Upon the Declaration of J. Barton Goplerud submitted herewith, and upon

Plaintiff Memorandum of Law submitted herewith, and upon all of the pleadings and

proceedings heretofore had herein, Plaintiffs (as set forth in the captions above,

hereinafter “Plaintiffs”) hereby move for entry of an Order, in the form submitted

herewith, appointing Plaintiffs’ counsel, Peiffer Rosca Wolf Abdullah Carr & Kane, A

Professional Law Corporation, Hudson, Mallaney, Shindler & Anderson, P.C. and Law

Office of Christopher J. Gray, P.C., as Interim Class Counsel for Plaintiffs and the

putative class pursuant to Fed. R. Civ. P. 23(g).

       Dated: August 26, 2015


                                                    PEIFFER, ROSCA, WOLF
                                                    ABDULLAH, CARR & KANE
                                                    A PROFESSIONAL LAW CORPORATION
                                                    /s/ Alan Rosca
                                                    By: Alan Rosca
                                                    1422 Euclid Avenue, Suite 1610
                                                    Cleveland, Ohio 44115
                                                    Telephone: (216) 570-0097
                                                    Facsimile: (888) 411-0038
                                                    E-Mail: arosca@prwlegal.com
                                                    PEIFFER, ROSCA, WOLF
                                                    ABDULLAH, CARR & KANE
                                                    A PROFESSIONAL LAW CORPORATION
                                                    Joseph C. Peiffer
                                                    201 St. Charles Avenue, Suite 4610
                                                    New Orleans, LA 70170
                                                    Telephone: (504) 523-2434
                                                    Facsimile: (504) 523-2464
                                                    E-Mail: jpeiffer@prwlegal.com

                                                    HUDSON, MALLANEY, SHINDLER &
                                                    ANDERSON, P.C.
                                                    J. Barton Goplerud
                                                    Brian O. Marty, (pro hac vice pending)
                                             2
Case 1:15-cv-00085-RRE-ARS Document 27 Filed 08/26/15 Page 3 of 3



                                   5015 Grand Ridge Drive, Suite 100
                                   West Des Moines, Iowa 50265
                                   Telephone: (515) 223-4567
                                   Facsimile: (515) 2223-8887
                                   E-Mail: jbgoplerud@hudsonlaw.net
                                          bmarty@hudsonlaw.net
                                   LAW OFFICE OF
                                   CHRISTOPHER J. GRAY, P.C..
                                   Christopher J. Gray
                                   360 Lexington Avenue, 14th Floor
                                   New York, NY 10017
                                   Telephone: (212) 838-3221
                                   Facsimile: (212) 937-3139
                                   E-Mail: chris@investorlawyers.net

                                   Proposed Interim Class Counsel

                                   LAW OFFICES OF JOSHUA B. KONS, LLC
                                   Joshua B. Kons
                                   50 Albany Turnpike, Suite 4024
                                   Canton, CT 06019
                                   Telephone: (860) 920-5181
                                   E-mail: joshuakons@konslaw.com

                                   LARSON LAW FIRM, P.C.
                                   Mark V. Larson
                                   1020 North Broadway
                                   Minot, ND 58703
                                   Telephone: (701) 839-1777
                                   Facsimile: (701) 839-5350
                                   E-mail:       larslaw@srt.com

                                   SCHNEIDER, SCHNEIDER & SCHNEIDER
                                   Mac J. Schneider
                                   317 ½ Kittson Ave.
                                   Grand Forks, ND 58201
                                   Telephone: (701) 757-2050
                                   Facsimile: (701) 757-2051
                                   E-Mail: mac@schneiderlawfirm.com

                                   Additional Counsel for Plaintiffs




                               3
